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                      UNITED STATES DISTRICT COURT                         t iri   -
                      SOUTHERN DISTRICT OF GEORGIA
                              AUGUSTA DIVISION                         z"-] JAIl -U A   I '-'

 UNITED STATES OF AMERICA                 ) INFORMATION NO. Al\-
                 V.                       ) 18U.S.C.§472
                                          ) Passing or Uttering Counterfeit
DONTRELL JEREMIAH REDD                    ) Obligations or Securities


                                                          CR1 23 - 00 1
THE UNITED STATES ATTORNEY CHARGES THAT:



                                   COUNT ONE
             Passing or Uttering Counterfeit Obligations or Securities
                                 18U.S.C. § 472

      On or about July 26, 2022, in Richmond County, within the Southern District

of Georgia, the defendant,

                        DONTRELL JEREMIAH REDD,

with intent to defraud, did attempt to pass and utter to First Community Bank a

falsely made, forged, and counterfeited obligation of the United States, that is, a

Treasury check in the amount of $1,266,213.00 made out to"Racks World LLC," check

serial number 37072122, which he then knew to be falsely made, forged, and

counterfeited.


      All in violation of Title 18, United States Code, Section 472.
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David H. Estes                      Jenz ifer A.
United States Attorney              As^tant United States   ttorney
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